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  November 11, 2020

  VIA CM/ECF
  Honorable Joseph A. Dickson, U.S.M.J.
  United States District Court
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street Room 4015
  Newark, NJ 07101

             Re:        WITOLD BAGINSKI v. WALLINGTON
                        Civ. Action No.: 2:17-cv-05320-JLL-JAD

  Dear Judge Dickson:

        This office serves as co-counsel to the defendant, the Borough of Wallington (the
  “Borough”), in the above-referenced matter.

        On November 9, 2020 Plaintiff filed his reply papers (ECF No. 66) with respect to his
  Motion for Sanctions (ECF No. 64). Plaintiff’s submission includes a Declaration by Mr.
  Baginski.

         Mr. Baginski’s Declaration is the first document from Plaintiff in this motion cycle that
  purports to place facts before the Court in a manner consistent with L.Civ.R. 7.2(a).

         Addressing a similar situation in a summary judgment setting under Fed.R.Civ.P. 56, the
  Third Circuit noted that when new facts are presented in reply, the “movant must provide the
  nonmoving party with notice and a reasonable opportunity to respond.” Alston v. Forsyth, 379 F.
  App'x 126, 129 (3d Cir. 2010).

          While Plaintiff has not moved for summary judgment in this instance, his motion seeks
  dispositive relief suppressing Defendants’ Answers and Separate Defenses with prejudice along
  with other weighty demands including disqualification of counsel.
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        As a result, we respectfully request that Defendants be afforded an opportunity to respond
to Plaintiff’s factual allegations through sur-reply.

       Thank you.

                                                            Respectfully submitted,

                                                            s/ Leonard E. Seaman
                                                            LEONARD E. SEAMAN

LES:me

Cc:    All Counsel (via CM/ECF)
       Client (via email)




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